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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

 JOHN DOE,
                                             Plaintiff,
                              v.                                    Civil Action No. ________
 YALE UNIVERSITY, YALE UNIVERSITY
 BOARD OF TRUSTEES, WENDY TSUNG in her                              EX PARTE PLAINTIFF’S
 individual and official capacity, K. GEERT                         MOTION TO PROCEED
 ROUWENHORST in his individual and official                         UNDER PSEUDONYM
 capacity, JACOB THOMAS in his individual and
 official capacity, SHERILYN SCULLY in her
 individual and official capacity, JAMES CHOI in his
 individual and official capacity, and ANJANI JAIN
 in his individual and official capacity,
                                         Defendants.

              PLAINTIFF'S MOTION TO PROCEED UNDER PSEUDONYM

       Plaintiff John Doe (“Plaintiff”), by his attorneys Nesenoff & Miltenberg, LLP, moves this

Court for an order authorizing Plaintiff to file a Complaint in the above-captioned matter as a

pseudonymous Plaintiff.

       As stated in detail in Plaintiff's Memorandum of Law in support of this Motion, in light of

the serious nature of the allegations contained in the Complaint, Plaintiff is justifiably concerned

about the potential irreparable harm that could further prevent Plaintiff from proceeding with his

future endeavors. Plaintiff’s identity as described in the Complaint should not be disclosed to the

public due to the nature of the allegations in said Complaint. See Plaintiff's Memorandum of Law

in Support of Motion to Proceed Under Pseudonym and Declaration of Christine D. Brown, Esq.,

with Exhibits.

       Plaintiff is prepared to provide a statement of his true identity under seal, upon the Court’s

Request.




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Dated: February 3, 2025                  Respectfully submitted,
       New York, New York

                                         NESENOFF & MILTENBERG, LLP

                                         /s/ Christine D. Brown
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                                         Attorneys for Plaintiffs




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